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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          NORTHERN DIVISION

DEANNA KOEHN,

      Plaintiff,                                     Case No. 1:22-cv-11848
                                                     Hon. Thomas L. Ludington
v.

PALACE SPORTS &
ENTERTAINMENT, LLC and
313 PRESENTS LLC,

      Defendants.


 THE MASTROMARCO FIRM                      SEWARD HENDERSON PLLC
 VICTOR J. MASTROMARCO, JR. (P34564)       T. JOSEPH SEWARD (P5095)
 KEVIN J. KELLY (P74546)                   Attorneys for Defendant 313 Presents LLC
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     STIPULATION AND ORDER TO AMEND SCHEDULING ORDER

      The parties hereto, by and through their respective counsel, hereby stipulate

and agree to entry of the attached Order amending the remaining dates on the

Scheduling Order 90 days. Good cause exists to enter this Order as the parties seek

additional time to complete discovery. Depositions have all been scheduled but have

been moved due to both attorneys’ trial schedules.

      Plaintiff’s attorneys’ office addressed the following trial schedule:
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       1.     Trial in Keohane v. City of Key West, Case No. 4:22-cv-10044-JEM, in

the United States District Court for the District of Southern Florida, was scheduled

to begin on September 11, 2023; it was subsequently adjourned on August 29, 2023

to a later date;

       2.     Trial in Castanon v. United Parcel Service, Inc, et al., Case No. 21-

044780-CD, in the Saginaw County Circuit Court, was set to begin on September

19, 2023; it was adjourned to begin on September 26, 2023 on September 5, 2023

and adjourned a second time on September 19, 2023;

       3.     Trial in Harvey v. Kuelske, et al., Case No. 21-045795-NF, in the

Saginaw County Circuit Court, was scheduled to begin on October 3, 2023; it was

adjourned on September 21, 2023;

       4.     Trial in Cooper v. Ascension St. Mary’s Hospital, et al., Case No. 20-

042224-NZ, in the Saginaw County Circuit Court, is set to begin on October 3, 2023,

which is a date certain.

       Due to numerous trials that were scheduled for September and the beginning

of October, the parties were not able to reschedule the depositions in this matter.

Respectfully submitted:

 /s/ Kevin J. Kelly      .                  /s/ T. Joseph Seward               .
 KEVIN J. KELLY (P74546)                    T. JOSEPH SEWARD (P35095)
 Attorney for Plaintiff                     Attorney for Defendant 313 Presents




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

DEANNA KOEHN,

                      Plaintiff,                            Case No. 1:22-cv-11848

v.                                                          Honorable Thomas L. Ludington
                                                            United States District Judge
313 PRESENTS, LLC,

                  Defendants.
_________________________________________/

     ORDER GRANTING PARTIES’ JOINT MOTION TO ADJOURN DISCOVERY
     CUTOFF DATE AND DISPOSITIVE MOTION DEADLINE AND ADJOURNING
                          SCHEDULING ORDER

       Having reviewed the Parties’ attached Stipulation, finding good cause, see FED. R. CIV. P.

16(b)(4), and this Court being otherwise fully advised in the premises:

        It is ORDERED that the Scheduling Order, ECF No. 16, is ADJOURNED as follows:

 Dispositive Motions Due:                             March 1, 2024
 Motions in limine Due:                               June 18, 2024
 Civil Rule 26(a)(3)(B) Disclosures Due:              June 28, 2024
 Pretrial Submissions Due:                            July 9, 2024
 Final Pretrial Conference:                           July 16, 2024 at 2:00 PM EDT
 Bench Trial:                                         August 6, 2024 at 8:30 AM EDT


       Dated: October 3, 2023                               s/Thomas L. Ludington
                                                            THOMAS L. LUDINGTON
                                                            United States District Judge




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